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              IN THE UNITED STATES DISTRICT COURT OF TENNESSEE
                  FOR THE WESTERN DISTRICT, WESTERN DIVISION


JENNIFER DUNN,              )
                            )
     Plaintiff,             )
                            )
VS.                         )                      Docket No.: 2:10-cv-02745
                            )
ALLSTATE INSURANCE COMPANY, )
                            )
     Defendant.             )



______________________________________________________________________

              DEFENANT ALLSTATE INSURANCE COMPANY’S
                 MOTION FOR LEAVE TO AMEND ANSWER
______________________________________________________________________

        Comes now Defendant Allstate Insurance Company, by and through counsel,

and moves this Court, pursuant to Rule 15 of the Federal Rules of Civil Procedure, for

leave to amend its Answer to elaborate on its Third Defense regarding Plaintiff’s

violations of the insurance policy. Federal Rule of Civil Procedure 15 provides that a

party may amend its pleading “with the opposing party’s written consent or the court’s

leave.”

        Defendant seeks to supplement and amend its Answer to include the following

italicized language in its Third Defense:

                                     THIRD DEFENSE

        Defendant would state that it is not liable to Plaintiff for any sum because Plaintiff

violated those provisions of the insurance policy set forth below:

GENERAL

                  Misrepresentation, Fraud or Concealment. We do not cover any loss
                  or occurrence in which any insured person has concealed or
                  misrepresented any material fact or circumstance.
                                              1
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                  Action Against Us. No one may bring an action against us unless there
                  has been full compliance with all policy terms.

SECTION I – LOSSES WE DO NOT COVER

        C.8.      Intentional or criminal acts of or at the direction of any insured person, if
                  the loss that occurs: a) may be reasonably expected to result from such
                  acts; or b) is the intended result of such acts. This exclusion applies
                  regardless of whether or not the insured person is actually charged with,
                  or convicted of, a crime.

SECTION 1 – CONDITIONS

        3.        What You Must Do After A Loss. In the event of a loss to any property
                  that may be covered by this policy, you must:
                  (d) give us all accounting records, bills, invoices and other vouchers, or
                  certified copies, which we may reasonably request to examine and permit
                  us to make copies.

        12.       Action Against Us. No one may bring an action against us in any way
                  related to the existence or amount of coverage, or the amount of loss for
                  which coverage is sought, under a coverage to which Section 1
                  Conditions applies, unless:
                  a) there has been full compliance with all policy terms.

A violation of any of these provisions of the insurance policy is a complete and absolute

defense to payment herein.

        Allstate Insurance Company respectfully requests that this Court grant its Motion

and permit it to file an amended Answer that incorporates the above language to its

Third Defense.




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                                     Respectfully submitted,


                                      RAINEY, KIZER, REVIERE & BELL, P.L.C.


                                      By: _______/s/ Russell E. Reviere________
                                          Russell E. Reviere (07166)
                                          Attorneys for Defendant
                                          209 East Main Street
                                          P. O. Box 1147
                                          Jackson, TN 38302-1147
                                          (731) 423-2414


                          CERTIFICATE OF CONSULTATION

        Attorneys for Defendant certify that we spoke with Mr. Ronald T. Riggs, Attorney
for Plaintiff, on February 15, 2011, regarding Defendant’s Motion to Amend Answer.
Plaintiff’s Counsel did not object to Defendant’s amendment and agreed to sign a
consent order granting Defendant’s Motion to Amend Answer.


                            CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing
document was forwarded by electronic means through the Court’s ECF System to
Ronald T. Riggs, 3201-100 N. Main Building, Memphis, TN, counselor of record for
Plaintiff.

        This the 15 day of February, 2011.


                                      _______/s/ Russell E. Reviere________




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